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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

EDWARD BRAGGS, et al.,                     )
                                           )
       Plaintiffs,                         )
                                           ) Case No. 2:14-cv-00601-MHT-WC
v.                                         )
                                           ) District Judge Myron H. Thompson
JEFFERSON DUNN, et al.,                    )
                                           )
       Defendants.                         )

                       RESPONSE TO PHASE 2A ORDER
                     ON CORRECTIONAL STAFFING TREND
       Defendants JEFFERSON DUNN (“Commissioner Dunn”) and RUTH

NAGLICH (“Naglich” and, collectively with Commissioner Dunn, “the State”)

hereby submit this response to the Phase 2A Order on Correctional Staffing Trend

(doc. 2834, the “Order”), seeking (a) confirmation as to the accuracy of the Court’s

correctional staffing calculations, and (b) an explanation about how the State plans

to meet the February 20, 2022 deadline for implementation of the correctional

staffing recommendations made by Russ and Meg Savage.

                                 INTRODUCTION

       Over the past two (2) years, the State has effectively executed the plan

presented to this Court in October of 2017 to implement an unprecedented

recruitment and retention strategy designed to increase correctional staffing levels

across the state of Alabama. As discussed in great detail in this Response, the raw
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employment data reported by the Alabama Department of Corrections (“ADOC”)

taken in the context of current events demonstrate both (a) the State’s commitment

to increasing its correctional staffing, and (b) the initial success of the State’s efforts

in the recruitment and retention of correctional staff. One cannot discount that the

impact of the global novel coronavirus disease 2019 (“COVID-19”) pandemic on

the State’s on-going efforts will remain unknown for some time. Nevertheless, as

of today, the State has demonstrably reversed a decade of declining correctional

staffing and built the infrastructure necessary to recruit, hire, onboard, and retain

correctional staff. Through the continuing implementation of the State’s recruitment

and retention plan, and barring any further unforeseen events (such as a global

pandemic), the State continues to believe that it can grow its correctional staff ranks

to fulfill all mandatory security postings within its facilities.

                                  THE STATE’S RESPONSE

       I.      AN ACCURATE ASSESSMENT                OF   CORRECTIONAL STAFFING
               LEVELS WITHIN THE ADOC.
       Generally, in terms of accuracy, the Court properly restated the numbers from

State’s quarterly correctional staffing reports (docs. 2668, 2823-1, 2829-1) and a

Joint Notice Regarding the Court’s Phase 2A Order on Correctional Staffing Report

(doc. 2704).1 However, the Court did not assess a twelve (12) month period in

1
  It appears in the footnote denoted with an asterisk on page 4 of the Order there is transposition
error in a formula in the second sentence: “(1,193 ÷ 8 = 239.125).” (Doc. 2834 at 4). The first
number incorrectly appears as “1,193” while it should be “1,913,” as reflected in the preceding

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evaluating the “second quarter of 2019 through the first quarter of 2020.” (Doc.

2834 at 1). Instead, the Court assessed correctional staffing on four (4) individual

dates—June 30, 2019, September 30, 2019, December 31, 2019, and March 31,

2020—over a nine (9) month period. Over this 9-month period, the Court correctly

stated that ADOC generally increased correctional officers (including basic

correctional officers [“BCO”] and correctional cubicle operators [“CCO”]) from

1,301 (as of June 30, 2019) and 1,413 (as of March 31, 2020).

       During this same 9-month period, ADOC did not experience a loss of forty-

six (46) supervisors. Rather, ADOC lost only eight (8) supervisors—basically, one

supervisor per month—during this period. (Id. at 1-2). The second quarter 2019

correctional staffing report 2019 (doc. 2668 at 11) included thirty-eight (38)

members of the K-9 staff who were not part of the supervisory structure. ADOC

removed those K-9 staff members from the third quarter 2019 correctional staffing

report (doc. 2673). On June 30, 2019, ADOC employed 321 supervisors, so the

overall decrease equals only eight (8) supervisors. Of course, as a general matter,

ADOC anticipates increasing its supervisory correctional staff through the

promotional process. However, it has been, and will continue to be, intentional and

responsible in hiring and promoting quality correctional leaders among its staff into

leadership positions. ADOC anticipates supervisory correctional staff will lag


sentence. However, the denominator and quotient from the division problem are correct. (Id.).


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behind front-line staff to allow it sufficient time to evaluate and train correctional

staff for supervisory or leadership positions.

      The State holds a more fundamental concern from its review of the Order,

because the Order seems to suggest a possible misunderstanding of the Savages’

correctional staffing report and the manner in which the State fulfills the staffing

plan developed by the Savages. First, the Savages’ post plans (doc. 1813-1 at 94,

120-133)2 rely on full-time equivalents (“FTE(s)”) as opposed to a physical

headcount of actual persons. As the Court will recall from the dispute related to

mental-health staffing, a FTE may be filled in a variety of ways, including, for

example, through part-time employees and overtime. Nevertheless, for optimal

staffing, the Savages recommended 3,626 FTEs for correctional officers and 500

FTEs for supervisors in their correctional staffing report (doc. 2834 at 3).

      As similarly discussed in the context of mental health staffing, an attempt to

convert FTEs into individual employees constitutes a futile mixture of apples and

oranges. This is particularly true with respect to the Savages’ post plans that reflect

optimal staffing patterns for ADOC facilities. At best, the hiring data and current

employment numbers reported by the State on a quarterly basis provide a rough

approximation of staffing levels as of a particular date and demonstrate broad trends



2
 The State is using the CM/ECF page numbers instead of the actual page numbers from the
Savages’ report for ease of reference.


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over a period of months and years. For that reason, ADOC used the “assigned” FTEs

for correctional staff and supervisors in the quarterly correctional staffing reports.

       Second, in their correctional staffing report, the Savages identified three (3)

levels of correctional staffing: (1) optimal staffing (where special project or activities

can be approved); (2) normal operations (where all programs and activities are in

full operation); and (3) critical minimum (where emergency services and life safety

operations are provided). (Doc. 1813-1 at 17). The Savages did not attempt to

establish a staffing plan for “normal operations” or “critical minimum” in their

facility post plans.3 Instead, the Savages provided “the optimal staffing patterns …

based on [their] observation and operation of similarly constructed and occupied

facilities….” (Id. at 100). That is, the Savages created an ideal post plan for each

facility, or the most FTEs that might possibly be required by a facility to fulfill its

mission. (Id.).

       Of course, to fully implement the Savages’ recommendations, the State does

not need to reach 3,626 FTEs for correctional staff and 500 FTEs for supervisors.4

Indeed, the Savages would say that full implementation of their recommendations


3
  As to the “critical minimum,” the Savages said it is not reflected in the “mandatory” posts (or the
lesser “essential” and “important” posts) but must be set by each facility. (Doc. 1813-1 at 17).
4
  For example, at Bibb Correctional Facility, the correctional staffing report identifies 38.72 FTEs
for supervisors and 271.89 FTEs for correctional staff. (Doc. 1813-1 at 114). Because the essential
correctional staff must be available seventy-five percent (75%) of the time, Bibb only requires the
actual FTEs at a rate of 36.425 FTEs for supervisors and 269.15 FTEs for correctional staff for
normal operations. (Id.; see also id. at 101).


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falls somewhere between the staffing level for “normal operations” and “critical

minimum”—lying closer to “normal operations” than “critical minimum.” As such,

the State’s target for correctional staff and supervisors is substantially lower than the

optimal staffing levels identified in the Court’s Order. (Doc. 2834 at 3). For this

reason, the target of 239.125 additional correctional officers per quarter and 23.375

additional supervisors per quarter is not consistent with the Savages’ correctional

staffing plan. This “target” merely provides a rough order of magnitude to estimate

ADOC’s proximity to the goal of adequate correctional staffing and proximity to the

optimal staffing recommendations from the Savages.

       Third, the correctional staffing report does not reflect the events transpiring

since the creation of the Savages’ report which altered the circumstances within

ADOC’s facilities.      For example, the correctional staffing report predates the

decommissioning of a significant portion of Holman Correctional Facility in early

2020 due to infrastructure failures. By closing a significant portion of Holman and

changing its mission, the correctional officer and supervisor post plan for Holman

will change—likely resulting in a reduction of correctional officers and

supervisors—when the modification projects are complete.5 Holman is not unique;

other ADOC facilities have experienced a change in use or mission since the Savages


5
  Due to the COVID-19 pandemic, virtually all modification projects within Holman were
temporarily suspended to prevent and mitigate the spread of COVID-19. ADOC will proceed with
completion of those modification projects when safe and appropriate to do so.


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completed their staffing analysis, which will impact correctional staffing levels at

those facilities.

       To say the Savages’ correctional staffing analysis depicts necessary, or even

adequate, correctional staffing within ADOC facilities today or on February 20,

2022 is inaccurate. At best, the Savages’ correctional staffing report provided a

framework to analyze and guide to understand correctional staffing with ADOC

facilities in the past. It is instructive and useful to understand optimal staffing at a

point in time in the past. However, it is not currently an accurate yardstick to

evaluate the State’s distance from the goal of optimal, or even adequate, correctional

staffing.

       II.    MEETING       THE    FEBRUARY 22, 2020 IMPLEMENTATION
              DEADLINE.
       The State continues to implement and follow the recommendations from the

Savages and Warren Averett concerning the recruiting, hiring, onboarding, and

retention of correctional staff. (See, e.g., doc. 2703).6 For example, as previously

reported to the Court, Governor Kay Ivey and the Alabama legislature enacted the

most significant single compensation package for any group of state employees in

the history of the state of Alabama and ADOC developed and implemented a BCO

position. (Id. at 3-22). However, aside from increased pay, a new bonus structure,


6
 Over the past few months, ADOC’s recruiting efforts were modified, as necessary, to address
and as a result of COVID-19.

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and new pathways into ADOC as a member of the correctional staff, ADOC worked

before and after entry of the Phase 2A Understaffing Remedial Opinion and Order

(docs. 1656, 1657, collectively, the “Staffing Order”) to create the infrastructure to

recruit, hire, onboard, and retain correctional staff.      These efforts cannot be

considered in a vacuum. Prior to March of 2020, ADOC’s initial recruitment and

retention efforts faced major economic headwinds in the form of a booming in-state

economy and unprecedented low unemployment numbers. After March of 2020,

ADOC’s recruitment efforts encountered all of the challenges facing every other

employer, including readily available unemployment benefits that undermined

efforts to recruit and retain unemployed persons and severe restrictions in recruiting,

hiring, and onboarding brought about by and during the stay-at-home and safer-at-

home orders associated with the COVID-19 pandemic.                Even despite these

circumstances, the State continues to maintain an attrition level below neighboring

states, an increasing pool of applicants, and a continued focus on conversion of those

applicants into correctional staff.

      In analyzing ADOC’s correctional staffing, Warren Averett emphasizes that

recruiting, hiring, and retention are not linear, and they are not as straightforward as

dividing the number of employees needed by the time allotted to reach those

numbers. Looking at the numbers alone offers a one-dimensional view of a multi-

faceted situation. Understaffing causes burn-out, which causes correctional officers



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to quit, which worsens understaffing, which causes burnout, which causes more

correctional officers to quit, as depicted by the following chart from Warren

Averett’s report:




(Doc. 2492-1 at 106, Figure 1: Turnover Cycle). Recruiting and retention can pose

a vicious cycle—one ADOC experienced for nearly a decade. Addressing and

correcting this decade-old problem requires comprehensive, concerted efforts.

Despite the difficult circumstances, ADOC worked, and continues to work,

diligently to break this cycle and increase correctional officers and supervisors

within its facilities.

                                RECRUITING EFFORTS

       Since beginning to implement Warren Averett’s recommendations, ADOC

completely restructured its Recruiting Department, including increasing the number

of recruiters, separating duties for efficiency, and fostering better coordination with



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the State Personnel Department.       ADOC hired a new Recruiting Director.

Additionally, ADOC now employs four (4) full-time recruiters in the field who

attend career fairs, job expositions, and other employment-related events, and they

work to establish strong recruiting sources within their communities. Within the

Recruiting Department, ADOC relies on three (3) back-office recruiters to focus on

increasing the conversion rate of candidates by encouraging and supporting

candidates from initial contact—using traditional and digital recruiting

mechanism—through the application process. Moreover, ADOC established a

separate Recruiting Assistant to process paperwork and monitor an applicant’s

progress in the hiring process through the new Applicant Tracking System, along

with a Recruiting Liaison to coordinate efforts between ADOC’s Recruiting

Department and the State Personnel Department.

      Apart from building a more robust Recruiting Department, ADOC

implemented a number of initiatives designed to improve the applicant’s recruiting

experience. ADOC reviewed, selected, customized, and implemented an Applicant

Tracking System (as referenced above). ADOC uses the Applicant Tracking System

to work applicants through the hiring process. As part of the Applicant Tracking

System, ADOC created a consolidated digital application to make it easier for

candidates to apply.

      ADOC overhauled its on-site recruiting and hiring events—the traditional



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pipeline for recruiting and hiring correctional officers. As a start, ADOC trained

staff assisting at an on-site about (among other things) how to interact and engage

with candidates. ADOC streamlined the entire application process at an on-site,

significantly reducing the time applicants spend at the event. An on-site coordinator

for a particular ADOC facility coordinates and takes charge of the on-site event, and

the on-site opens with a welcome video from Commissioner Dunn and includes

lunch. Before the conclusion of each on-site, ADOC assigns a recruiter to each

applicant who the applicant can contact at any time for assistance or questions about

the hiring process. Based on feedback, these changes to the on-site process have

made them more productive and more enjoyable from an applicant/candidate

perspective.

      In an effort to make the submission of an application easier, ADOC created

an online application process, initially rolling it out for BCO applicants. BCO

applicants submit their application online for review and processing by ADOC.

Applicants who appear to meet basic hiring criteria are then promptly scheduled for

an interview with ADOC’s Law Enforcement Services Division (formerly known as

Investigations and Intelligence Division).        And, those BCO candidates who

satisfactorily complete the interview and background investigation are scheduled to

start in and ADOC facility as soon as possible.

      Of course, building an online recruiting, hiring, and onboarding process for



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BCOs from scratch was a complex endeavor. It required ADOC to work through

various issues such as data security, capture of original documents, and proper

routing to and through the State Personnel Department. Nevertheless, ADOC’s

diligent work on this new platform ensured candidates can move through the hiring

and onboarding process in a timely and efficient manner. Moreover, the initial

positive results from this new application process suggest a more workable and

efficient process for BCO applicants.

      Notably, ADOC launched the online application process for BCOs on March

23, 2020. ADOC’s timing was incredibly fortuitous. As a result of the stay-at-home

and safer-at-home orders, ADOC was forced to cancel its on-sites, thereby bringing

in-person hiring to a complete halt. However, ADOC continued to receive and

process BCO applications during the COVID-19 pandemic. Based solely on the

availability of an online application process, ADOC anticipates converting a number

of the applications received during the COVID-19 pandemic to BCOs.

                               MARKETING EFFORTS

      Since entry of the Staffing Order, ADOC concentrated on aligning its

marketing and recruiting strategies.    For example, ADOC created a statewide

awareness campaign to funnel applicants to on-sites or online to apply for a job with

ADOC.     ADOC’s marketing campaign now relies on a variety of platforms,

including digital (Facebook images and videos, YouTube, Google display, Google



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search, and career websites), television, radio, direct mail, and email marketing,

which ensure it reaches the widest span of applicants possible. ADOC’s strategy for

lead generation focuses on the vigilant monitoring of metrics associated with each

marketing channel. On a weekly basis, ADOC analyzes the effectiveness of the

marketing campaign based on data from each marketing channel. That allows

ADOC to adjust the marketing approach as needed to optimize lead generation for

applicants. Additionally, the marketing team studies industry and marketing trends

continuously to ensure the marketing campaigns and messaging are up to date and

resonate with the target audience.

                              COMPENSATION EFFORTS

      As the Court is aware, ADOC made historic changes to attract and retain

correctional staff. From a compensation perspective, ADOC substantially increased

salaries (including making grade changes to increase maximum salaries for each job

classification), adopted pay increases at certain intervals (such as a five percent [5%]

pay increase when granted status in their class), allowed a payout for up to eighty

(80) hours of excess annual leave each year, and implemented recruiting and

retention bonuses. To understand the new bonus structure, the State inserted the

table below:




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(Alabama Department of Corrections, Guide for New Compensation Plan, July

2019, http://www.doc.state.al.us/docs/ADOC_Full%20Compensation%20Pkge_07

032019.pdf (last visited June 11, 2020)). According to Warren Averett, this new

compensation structure continues to play a vital role in attracting qualified

candidates and will continue to do so into the immediate future—particularly as our

state returns to more normal operations.




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                                  BCO EFFORTS

      As previously explained to the Court (doc. 2703), the early physical fitness

test during the law enforcement academy constituted a significant barrier for a

number of potential correctional officer applicants. To address this issue, ADOC

developed and, in May 2019, implemented the BCO position, with significant

coordination and assistance from the State Personnel Department, Alabama Peace

Officer Standards and Training Commission, and each ADOC facility (to coordinate

integrating the BCO position into its workforce). The BCO position has been a

resounding success. Since inception of the BCO position, ADOC has hired 464 new

BCOs. Based upon these initial results, ADOC continues to believe that BCOs will

be a key component of success in the State’s on-going correctional staff recruitment

and retention efforts.

                               RETENTION EFFORTS

      Contemporaneously with efforts to improve recruiting, ADOC worked to

improve retention of correctional staff.     Most significantly, ADOC provided

increased compensation and benefits to existing correctional staff, including, for

example, retention bonuses. ADOC’s efforts positively impacted correctional staff

retention. In fiscal year 2019, ADOC had an attrition rate of 12.8%, which is

significantly lower that the neighboring states of Florida (29%), Georgia (42%), and

Tennessee (42%). (See THE LEDGER, Prison Guards Hired After Age Lowered, Jan.



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1, 2020, https://www.theledger.com/news/20200101/prison-guards-hired-after-age-

lowered; ATLANTA JOURNAL-CONSTITUTION, Up to 97% Turnover Rates for Some

State Jobs Helps Lead Georgia House to Halve Teacher Raise, Mar. 11, 2020,

https://www.ajc.com/news/state--regional-govt--politics/turnover-rates-for-some-

state-jobs-helps-lead-georgia-house-halve-teacher-raise/CC7rXzjblzGjqCiszGQX

FN/; Tennessee Department of Corrections, Statistical Abstract, Fiscal Year 2018,

https://www.tn.gov/content/dam/tn/correction/documents/StatisticalAbstract2018.p

df (last visited June 11, 2020)). Now, based upon recent exit surveys from separated

employees, compensation no longer represents the key factor resulting in departure

from ADOC.

      Likewise, ADOC’s creation of the BCO position introduced a way for CCOs

to advance into a higher paying position with more responsibilities. Prior to the

creation of the BCO position, there were no career advancement opportunities for

CCOs. Similarly, by creating the Correctional Officer Senior position, correctional

officers now have a career path to promotion that comes along with a five percent

(5%) salary increase, without necessarily requiring correctional staff to assume a

more demanding supervisory position. By affording existing correctional staff new

career paths, ADOC has been able to retain them.

                              CONTINUING EFFORTS

      Since the Staffing Order, ADOC spent significant time and effort to fix a



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broken hiring system and to build the necessary recruiting, hiring, and onboarding

infrastructure to grow and meet the correctional staffing goals. ADOC has made

important progress in hiring and retention of correctional staff, notwithstanding a

historic ten (10) year correctional staffing decline and low unemployment nationally

and in Alabama. (See WSFA, Alabama’s Low Unemployment Rate Hits 7th

Straight Record, Dec. 20, 2019, https://www.wsfa.com/2019/12/20/alabama-hits-

new-record-low-unemployment-th-straight-month/ (last visited on June 11, 2020)).

ADOC’s efforts, by way of example, significantly increased applications through

the online application system and increased attendance at on-site events (as shown

below):




Over the past two (2) months, ADOC enjoyed the two (2) best hiring months for

fiscal year 2020. Even though building the necessary infrastructure for recruiting,

hiring, and onboarding took time, the returns from these efforts are beginning to

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show, and ADOC’s correctional staffing levels have increased for the first time in

nearly ten (10) years:

                                COs Assigned at Major Facilities
              2100
              2000
              1900
              1800
              1700
              1600
              1500
              1400
              1300
              1200
              1100
              1000
                  2010   2011   2012   2013   2014   2015   2016   2017   2018   2019   2020



      The COVID-19 pandemic and resulting recession pose a significant challenge

to recruiting and retention of correctional staff. While unemployment sharply rose

during the COVID-19 pandemic, Alabama unemployment claimants receive

generous benefits ($600 per week from the CARES Act of 2020 on top of applicable

state benefits). It appears these generous benefits have kept Alabama’s unemployed

workforce from seeking new employment, opting to wait until those unemployment

benefits run out to seek new employment. Additionally, at this point, it appears

many Alabama employers are recalling unemployed persons from furlough and

rehiring former employees since issuance of the safer-at-home order.

      It is particularly impossible in the current environment to project the

employment market and the effects of COVID-19 and economic issues on the

employment market in the next 18 months. ADOC remains cautiously optimistic

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that it can capitalize on current employment-related and economic circumstances.

That is, ADOC remains hopeful that the current potential labor pool—more than

550,000 Alabama residents who applied for unemployment from March to May

2020—will consider the opportunity to work as a correctional professional.

(ALABAMA NEWS NETWORK, COVID-19 Related Unemployment Claims Fall as

People         Head       Back          to        Work,       June       4,       2020,

https://www.alabamanews.net/2020/06/04/covid-19-related-unemployment-claims-

fall-as-people-head-back-to-work/ (last visited June 11, 2020)). As of today, ADOC

is taking proactive measures to reach these exact individuals. ADOC is currently

working with the Alabama Department of Labor (“ADOL”) to publicize ADOC’s

need for correctional staff on ADOL’s website, through its mobile application, and

by providing flyers to Alabama residents filing for and receiving unemployment

benefits. Similarly, ADOC intends to take advantage of an offer to advertise its

correctional    staff   opportunities        on   the     Alabama    Works!    website

(https://alabamaworks.com/). ADOC believes these marketing efforts directed to

persons in need of a job will allow it to increase applications and potential candidates

for correctional employment opportunities in the coming months.

      As depicted below, the prior low employment circumstances constituted a

significant hurdle in recruitment of new correctional staff, as the number of job

openings is inversely proportional to the number of jobseekers (i.e. demand



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exceeded supply):




(U.S. Bureau of Labor Statistics, Number of Unemployed Persons Per Job Opening,

Seasonally Adjusted, https://www.bls.gov/charts/job-openings-and-labor-turnover/

unemp-per-job-opening.htm (last visited June 11, 2020)).          If non-correctional

employers do not return to their prior employment levels, Warren Averett believes

that ADOC might be able to avoid competition for those potential employees.

Nevertheless, prognosticating future employment trends is nothing short of

speculative, though the State continues to search out every available, qualified

applicant to assist it in fulfilling its employment objectives.




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                                    CONCLUSION

      The State appreciates the Court’s willingness to assist in its work to increase

correctional staffing and supervisors with ADOC facilities. Since entry of the

Staffing Order, the State has developed the infrastructure to recruit, hire, onboard,

and retain correctional staff and supervisors. Its efforts are bearing fruit. The State

remains optimistic that its employment-related processes will enable ADOC to

achieve adequate correctional staffing levels by February 20, 2022.

      Dated: June 12, 2020.
                                        /s/ William R. Lunsford
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon all attorneys
of record in this matter, including without limitation the following, by the Court’s
CM/ECF system on this the 12th day of June, 2020:

 Ebony Howard                                 Gregory M. Zarzaur
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